
*54Justice Thomas
delivered the opinion of the Court.
The Orleans Parish District Attorney’s Office now concedes that, in prosecuting respondent John Thompson for attempted armed robbery, prosecutors failed to disclose evidence that should have been turned over to the defense under Brady v. Maryland, 373 U. S. 83 (1963). Thompson was convicted. Because of that conviction Thompson elected not to testify in his own defense in his later trial for murder, and he was again convicted. Thompson spent 18 years in prison, including 14 years on death row. One month before Thompson’s scheduled execution, his investigator discovered the undisclosed evidence from his armed robbery trial. The reviewing court determined that the evidence was exculpatory, and both of Thompson’s convictions were vacated.
After his release from prison, Thompson sued petitioner Harry Connick, in his official capacity as the Orleans Parish district attorney, for damages under Rev. Stat. §1979, 42 U. S. C. § 1983. Thompson alleged that Connick had failed to train his prosecutors adequately about their duty to produce exculpatory evidence and that the lack of training had caused the nondisclosure in Thompson’s robbery case. The jury awarded Thompson $14 million, and the Court of Appeals for the Fifth Circuit affirmed by an evenly divided en banc court. We granted certiorari to decide whether a district attorney’s office may be held liable under § 1983 for failure to train based on a single Brady violation. We hold that it cannot.
I
A
In early 1985, John Thompson was charged with the murder of Raymond T. Liuzza, Jr., in New Orleans. Publicity following the murder charge led the victims of an unrelated *55armed robbery to identify Thompson as their attacker. The district attorney charged Thompson with attempted armed robbery.
As part of the robbery investigation, a crime scene technician took from one of the victims’ pants a swatch of fabric stained with the robber’s blood. Approximately one week before Thompson’s armed robbery trial, the swatch was sent to the crime laboratory. Two days before the trial, Assistant District Attorney Bruce Whittaker received the crime lab’s report, which stated that the perpetrator had blood type B. There is no evidence that the prosecutors ever had Thompson’s blood tested or that they knew what his blood type was. Whittaker claimed he placed the report on Assistant District Attorney James Williams’ desk, but Williams denied seeing it. The report was never disclosed to Thompson’s counsel.
Williams tried the armed robbery case with Assistant District Attorney Gerry Deegan. On the first day of trial, Deegan checked all of the physical evidence in the case out of the police property room, including the bloodstained swatch. Deegan then checked all of the evidence but the swatch into the courthouse property room. The prosecutors did not mention the swatch or the crime lab report at trial, and the jury convicted Thompson of attempted armed robbery.
A few weeks later, Williams and Special Prosecutor Eric Dubelier tried Thompson for the Liuzza murder. Because of the armed robbery conviction, Thompson chose not to testify in his own defense. He was convicted and sentenced to death. State v. Thompson, 516 So. 2d 349 (La. 1987). In the 14 years following Thompson’s murder conviction, state and federal courts reviewed and denied his challenges to the conviction and sentence. See State ex rel. Thompson v. Cain, 95-2463 (La. 4/25/96), 672 So. 2d 906; Thompson v. Cain, 161 P. 3d 802 (CA5 1998). The State scheduled Thompson’s execution for May 20, 1999.
*56In late April 1999, Thompson’s private investigator discovered the crime lab report from the armed robbery investigation in the files of the New Orleans Police Crime Laboratory. Thompson was tested and found to have blood type 0, proving that the blood on the swatch was not his. Thompson's attorneys presented this evidence to the district attorney’s office, which, in turn, moved to stay the execution and vacate Thompson’s armed robbery conviction.1 The Louisiana Court of Appeal then reversed Thompson’s murder conviction, concluding that the armed robbery conviction unconstitutionally deprived Thompson of his right to testify in his own defense at the murder trial. State v. Thompson, 2002-0361 (La. App. 7/17/02), 825 So. 2d 552. In 2003, the district attorney’s office retried Thompson for Liuzza’s murder.2 The jury found him not guilty.
B
Thompson then brought this action against the district attorney’s office, Connick, Williams, and others, alleging that their conduct caused him to be wrongfully convicted, incarcerated for 18 years, and nearly executed. The only claim that proceeded to trial was Thompson’s claim under § 1983 that the district attorney’s office had violated Brady by fail*57ing to disclose the crime lab report in his armed robbery trial. See Brady, 373 U. S. 83. Thompson alleged liability under two theories: (1) The Brady violation was caused by an unconstitutional policy of the district attorney’s office; and (2) the violation was caused by Connick’s deliberate indifference to an obvious need to train the prosecutors in his office in order to avoid such constitutional violations.
Before trial, Conniek conceded that the failure to produce the crime lab report constituted a Brady violation.3 See Record EX608, EX880. Accordingly, the District Court instructed the jury that the “only issue” was whether the nondisclosure was caused by either a policy, practice, or custom of the district attorney’s office or a deliberately indifferent failure to train the office’s prosecutors. Id., at 1615.
Although no prosecutor remembered any specific training session regarding Brady prior to 1985, it was undisputed at trial that the prosecutors were familiar with the general Brady requirement that the State disclose to the defense evidence in its possession that is favorable to the accused. Prosecutors testified that office policy was to turn crime lab reports and other scientific evidence over to the defense. They also testified that, after the discovery of the undisclosed crime lab report in 1999, prosecutors disagreed about whether it had to be disclosed under Brady absent knowledge of Thompson’s blood type.
The jury rejected Thompson’s claim that an unconstitutional office policy caused the Brady violation, but found the district attorney’s office liable for failing to train the prosecutors. The jury awarded Thompson $14 million in damages, and the District Court added more than $1 million in attorney’s fees and costs.
After the verdict, Conniek renewed his objection — which he had raised on summary judgment — that he could not have *58been deliberately indifferent to an obvious need for more or different Brady training because there was no evidence that he was aware of a pattern of similar Brady violations. The District Court rejected this argument for the reasons that it had given in the summary judgment order. In that order, the court had concluded that a pattern of violations is not necessary to prove deliberate indifference when the need for training is “so obvious.” No. Civ. A. 03-2045 (ED La., Nov. 15, 2005), App. to Pet. for Cert. 141a, 2005 WL 3541035, *13. Relying on Canton v. Harris, 489 U. S. 378 (1989), the court had held that Thompson could demonstrate deliberate indifference by proving that “the DA’s office knew to a moral certainty that assistant) [district attorneys] would acquire Brady material, that without training it is not always obvious what Brady requires, and that withholding Brady material will virtually always lead to a substantial violation of constitutional rights.”4 App. to Pet. for Cert. 141a, 2005 WL 3541035, *13.
A panel of the Court of Appeals for the Fifth Circuit affirmed. The panel acknowledged that Thompson did not present evidence of a pattern of similar Brady violations, 553 F. 3d 836, 851 (2008), but held that Thompson did not need to prove a pattern, id., at 854. According to the panel, Thompson demonstrated that Connick was on notice of an obvious need for Brady training by presenting evidence “that attorneys, often fresh out of law school, would undoubtedly be required to confront Brady issues while at the DA’s Office, that erroneous decisions regarding Brady evidence would result in serious constitutional violations, that resolution of Brady issues was often unclear, and that training in Brady would have been helpful.” 553 F. 3d, at 854.
*59The Court of Appeals sitting en banc vacated the panel opinion, granted rehearing, and divided evenly, thereby affirming the District Court. 578 F. 3d 293 (CA5 2009) (per curiam). In four opinions, the divided en banc court disputed whether Thompson could establish municipal liability for failure to train the prosecutors based on the single Brady violation without proving a prior pattern of similar violations, and, if so, what evidence would make that showing. We granted certiorari. 559 U. S. 1004 (2010).
II
The Brady violation conceded in this ease occurred when one or more of the four prosecutors involved with Thompson’s armed robbery prosecution failed to disclose the crime lab report to Thompson’s counsel. Under Thompson’s failure-to-train theory, he bore the burden of proving both (1) that Connick, the policymaker for the district attorney’s office, was deliberately indifferent to the need to train the prosecutors about their Brady disclosure obligation with respect to evidence of this type and (2) that the lack of training actually caused the Brady violation in this case. Connick argues that he was entitled to judgment as a matter of law because Thompson did not prove that he was on actual or constructive notice of, and therefore deliberately indifferent to, a need for more or different Brady training. We agree.5
*60A
Title 42 U. S. C. § 1983 provides in relevant part:
“Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any State . . . subjects, or causes to be subjected, any citizen of the United States or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be liable to the party injured in an action at law, suit in equity, or other proper proceeding for redress . . .
A municipality or other local government may be liable under this section if the governmental body itself “subjects” a person to a deprivation of rights or “causes” a person “to be subjected” to such deprivation. See Monell v. New York City Dept. of Social Servs., 436 U. S. 658, 692 (1978). But, under §1983, local governments are responsible only for “their own illegal acts.” Pembaur v. Cincinnati, 475 U. S. 469, 479 (1986) (citing Monell, 436 U. S., at 665-683). They are not vicariously liable under § 1983 for their employees’ actions. See id., at 691; Canton, 489 U. S., at 392; Board of Comm’rs of Bryan Cty. v. Brown, 520 U. S. 397, 403 (1997) (collecting cases).
Plaintiffs who seek to impose liability on local governments under § 1983 must prove that “action pursuant to official municipal policy” caused their injury. Monell, 436 U. S., *61at 691; see id., at 694. Official municipal policy includes the decisions of a government’s lawmakers, the acts of its policy-making officials, and practices so persistent and widespread as to practically have the force of law. See ibid.; Pembaur, supra, at 480-481; Adickes v. S. H. Kress &amp; Co., 398 U. S. 144, 167-168 (1970). These are “action[s] for which the municipality is actually responsible.” Pembaur, supra, at 479-480.
In limited circumstances, a local government’s decision not to train certain employees about their legal duty to avoid violating citizens’ rights may rise to the level of an official government policy for purposes of § 1983. A municipality’s culpability for a deprivation of rights is at its most tenuous where a claim turns on a failure to train. See Oklahoma City v. Tuttle, 471 U. S. 808, 822-823 (1985) (plurality opinion) (“[A] 'policy’ of 'inadequate training’” is “far more nebulous, and a good deal further removed from the constitutional violation, than was the policy in Monell”). To satisfy the statute, a municipality’s failure to train its employees in a relevant respect must amount to “deliberate indifference to the rights of persons with whom the [untrained employees] come into contact.” Canton, 489 U. S., at 388. Only then “can such a shortcoming be properly thought of as a city 'policy or custom’ that is actionable under §1983.” Id., at 389.
“ '[Deliberate indifference’ is a stringent standard of fault, requiring proof that a municipal actor disregarded a known or obvious consequence of his action.” Bryan Cty., 520 U. S., at 410. Thus, when city policymakers are on actual or constructive notice that a particular omission in their training program causes city employees to violate citizens’ constitutional rights, the city may be deemed deliberately indifferent if the policymakers choose to retain that program. Id., at 407. The city’s “'policy of inaction’” in light of notice that its program will cause constitutional violations “is the functional equivalent of a decision by the city itself to violate *62the Constitution.” Canton, 489 U. S., at 395 (O’Connor, J., concurring in part and dissenting in part). A less stringent standard of fault for a failure-to-train claim “would result in defacto respondeat superior liability on municipalities.....” Id., at 392; see also Pembaur, supra, at 483 (opinion of Brennan, J.) (“[MJunicipal liability under § 1983 attaches where— and only where — a deliberate choice to follow a course of action is made from among various alternatives by [the relevant] officials ... ”).
B
A pattern of similar constitutional violations by untrained employees is “ordinarily necessary” to demonstrate deliberate indifference for purposes of failure to train. Bryan Cty., 520 U. S., at 409. Policymakers’ “continued adherence to an approach-.that they know or should know has failed to prevent tortious conduct by employees may establish the conscious disregard for the consequences of their action— the ‘deliberate indifference’ — necessary to trigger municipal liability.” Id., at 407. Without notice that a course of training is deficient in a particular respect, decisionmakers can hardly be said to have deliberately chosen a training program that will eause violations of constitutional rights.
Although Thompson does not contend that he proved a pattern of similar Brady violations, 553 F. 3d, at 851, vacated, 578 F. 3d 293 (en banc), he points out that, during the 10 years preceding his armed robbery trial, Louisiana courts had overturned four convictions because of Brady violations by prosecutors in Connick’s office.6 Those four reversals could not have put Conniek on notice that the office’s Brady training was inadequate with respect to the sort of Brady violation at issue here. None of those cases involved failure to disclose blood evidence, a crime lab report, or physical or *63scientific evidence of any kind. Because those incidents are not similar to the violation at issue here, they could not have put Connick on notice that specific training was necessary to avoid this constitutional violation.7
C
1
Instead of relying on a pattern of similar Brady violations, Thompson relies on the “single-incident” liability that this Court hypothesized in Canton. He contends that the Brady violation in his case was the “obvious” consequence of failing to provide specific Brady training, and that this showing of “obviousness” can substitute for the pattern of violations ordinarily necessary to establish municipal culpability.
In Canton, the Court left open the possibility that, “in a narrow range of circumstances,” a pattern of similar violations might not be necessary to show deliberate indifference. Bryan Cty., supra, at 409. The Court posed the hypothetical example of a city that arms its police force with firearms and deploys the armed officers into the public to capture fleeing felons without training the officers in the constitutional limitation on the use of deadly force. Canton, supra, at 390, n. 10. Given the known frequency with which police attempt to arrest fleeing felons and the “predictability that an officer lacking specific tools to handle that situation will violate citizens’ rights,” the Court theorized that a city’s decision not to train the officers about constitutional limits on *64the use of deadly force could reflect the city’s deliberate indifference to the “highly predictable consequence,” namely, violations of constitutional rights. Bryan Cty., supra, at 409. The Court sought not to foreclose the possibility, however rare, that the unconstitutional consequences of failing to train could be so patently obvious that a city could be liable under § 1983 without proof of a pre-existing pattern of violations.
Failure to train prosecutors in their Brady obligations does not fall within the narrow range of Canton's hypothesized single-incident liability. The obvious need for specific legal training that was present in the Canton scenario is absent here. Armed police must sometimes make split-second decisions with life-or-death consequences. There is no reason to assume that police academy applicants are familiar with the constitutional constraints on the use of deadly force. And, in the absence of training, there is no. way for novice officers to obtain the legal knowledge they require. Under those circumstances there is an obvious need for some form of training. In stark contrast, legal “[t]raining is what differentiates attorneys from average public employees.” 578 F. 3d, at 304-305 (opinion of Clement, J.).
Attorneys are trained in the law and equipped with the tools to interpret and apply legal principles, understand constitutional limits, and exercise legal judgment. Before they may enter the profession and receive a law license, all attorneys must graduate from law school or pass a substantive examination; attorneys in the vast majority of jurisdictions must do both. See, e. g., La. State Bar Assn. (LSBA), Articles of Incorporation, La. Rev. Stat. Ann. §37, ch. 4, App., Art. 14, §7 (1988 West Supp.) (as amended through 1985). These threshold requirements are designed to ensure that all new attorneys have learned how to find, understand, and apply legal rules. Cf. United States v. Cronic, 466 U. S. 648, 658, 664 (1984) (noting that the presumption “that the lawyer is competent to provide the guiding hand that the defendant *65needs” applies even to young and inexperienced lawyers in their first jury trial and even when the case is complex).
Nor does professional training end at graduation. Most jurisdictions require attorneys to satisfy continuing-education requirements. See, e. g., LSBA, Articles of Incorporation, Art. 16, Rule 1.1(b) (effective 1987); La. Sup. Ct. Rule XXX (effective 1988). Even those few jurisdictions that do not impose mandatory continuing-education requirements mandate that attorneys represent their clients competently and encourage attorneys to engage in continuing study and education. See, e. g., Mass. Rule Prof. Conduct 1.1 and comment 6 (West 2006). Before Louisiana adopted continuing-education requirements, it imposed similar general competency requirements on its state bar. LSBA, Articles of Incorporation, Art. 16, EC 1-1, 1-2, DR 6-101 (West 1974) (effective 1971).
Attorneys who practice with other attorneys, such as in district attorney’s offices, also train on the job as they learn from more experienced attorneys. For instance, here in the Orleans Parish District Attorney’s Office, junior prosecutors were trained by senior prosecutors who supervised them as they worked together to prepare cases for trial, and trial chiefs oversaw the preparation of the cases. Senior attorneys also circulated court decisions and instructional memoranda to keep the prosecutors abreast of relevant legal developments.
In addition, attorneys in all jurisdictions must satisfy character and fitness standards to receive a law license and are personally subject to an ethical regime designed to reinforce the profession’s standards. See, e. g., LSBA, Articles of Incorporation, Art. 14, §7 (1985); see generally id., Art. 16 (1971) (Code of Professional Responsibility). Trial lawyers have a “duty to bring to bear such skill and knowledge as will render the trial a reliable adversarial testing process.” Strickland v. Washington, 466 U. S. 668, 688 (1984). Prosecutors have a special “duty to seek justice, not merely to *66convict.” LSBA, Articles of Incorporation, Art. 16, EC 7-13 (1971); ABA Standards for Criminal Justice 3-1.1(c) (2d ed. 1980). Among prosecutors’ unique ethical obligations is the duty to produce Brady evidence to the defense. See, e. g., LSBA, Articles of Incorporation, Art. 16, EC 7-13 (1971); ABA Model Rule of Prof. Conduct 3.8(d) (1984).8 An attorney who violates his or her ethical obligations is subject to professional discipline, including sanctions, suspension, and disbarment. See, e.g., LSBA, Articles of Incorporation, Art. 15, §§5, 6 (1971); id., Art. 16, DR 1-102; ABA Model Rule of Prof. Conduct 8.4 (1984).
In light of this regime of legal training and professional responsibility, recurring constitutional violations are not the “obvious consequence” of failing to provide prosecutors with formal in-house training about how to obey the law. Bryan Cty., 520 U. S., at 409. Prosecutors are not only equipped *67but are also ethically bound to know what Brady entails and to perform legal research when they are uncertain. A district attorney is entitled to rely on prosecutors’ professional training and ethical obligations in the absence of specific reason, such as a pattern of violations, to believe that those tools are insufficient to prevent future constitutional violations in “the usual and recurring situations with which [the prosecutors] must deal.”9 Canton, 489 U. S., at 391. A licensed attorney making legal judgments, in his capacity as a prosecutor, about Brady material simply does not present the same “highly predictable” constitutional danger as Cantoris untrained officer.
A second significant difference between this ease and the example in Canton is the nuance of the allegedly necessary training. The Canton hypothetical assumes that the armed police officers have no knowledge at all of the constitutional limits on the use of deadly force. But it is undisputed here that the prosecutors in Connick’s office were familiar with the general Brady rule. Thompson’s complaint therefore cannot rely on the utter lack of an ability to cope with constitutional situations that underlies the Canton hypothetical, but rather must assert that prosecutors were not trained about particular Brady evidence or the specific scenario related to the violation in his case. That sort of nuance simply cannot support an inference of deliberate indifference here. As the Court said in Canton, “[i]n virtually every instance where a person has had his or her constitutional rights violated by a city employee, a §1983 plaintiff will be able to point to something the city ‘could have done’ to prevent the unfortunate incident.” 489 U. S., at 392 (citing Tuttle, 471 U. S., at 823 (plurality opinion)).
*68Thompson suggests that the absence of any formal training sessions about Brady is equivalent to the complete absence of legal training that the Court imagined in Canton. But failure-to-train liability is concerned with the substance of the training, not the particular instructional format. The statute does not provide plaintiffs or courts carte blanche to micromanage local governments throughout the United States.
We do not assume that prosecutors will always make correct Brody decisions or that guidance regarding specific Brady questions would not assist prosecutors. But showing merely that additional training would have been helpful in making difficult decisions does not establish municipal liability. “[P]rov[mg] that an injury or accident could have been avoided if an [employee] had had better or more training, sufficient to equip him to avoid the particular injury-causing conduct” will not suffice. Canton, supra, at 391. The possibility of single-incident liability that the Court left open in Canton is not this case.10
2
The dissent rejects our holding that Canton’s hypothesized single-incident liability does not, as a legal matter, encompass failure to train prosecutors in their Brady obligation. It would instead apply the Canton hypothetical to this case, and thus devotes almost all of its opinion to explaining *69why the evidence supports liability under that theory.11 But the dissent’s attempt to address our holding — by pointing out that not all prosecutors will necessarily have enrolled in criminal procedure class — misses the point. See post, at 106-107. The reason why the Canton hypothetical is inapplicable *70is that attorneys, unlike police officers, are equipped with the tools to find, interpret, and apply legal principles.
By the end of its opinion, however, the dissent finally reveals that its real disagreement is not with our holding today, but with this Court’s precedent. The dissent does not see “any reason,” post, at 108, for the Court’s conclusion in Bryan County that a pattern of violations is “ordinarily necessary” to demonstrate deliberate indifference for purposes of failure to train, 520 U. S., at 409. Cf. id., at 406-408 (explaining why a pattern of violations is ordinarily necessary). But cf. post, at 108 (describing our reliance on Bryan County as “implying]” a new “limitation” on § 1983). As our precedent makes clear, proving that a municipality itself actually caused a constitutional violation by failing to train the offending employee presents “difficult problems of proof,” and we must adhere to a “stringent standard of fault,” lest municipal liability under § 1983 collapse into respondeat superior.12 Bryan Cty., supra, at 406, 410; see Canton, 489 U. S., at 391-392.
3
The District Court and the Court of Appeals panel erroneously believed that Thompson had proved deliberate indifference by showing the “obviousness” of a need for additional training. They based this conclusion on Connick’s awareness that (1) prosecutors would confront Brady issues while *71at the district attorney’s office; (2) inexperienced prosecutors were expected to understand Brady's, requirements; (3) Brady has gray areas that make for difficult choices; and (4) erroneous decisions regarding Brady evidence would result in constitutional violations. 553 F. 3d, at 854; App. to Pet. for Cert. 141a, 2005 WL 3541035, *13. This is insufficient.
It does not follow that, because Brady has gray areas and some Brady decisions are difficult, prosecutors will so obviously make wrong decisions that failing to train them amounts to “a decision by the city itself to violate the Constitution.” Canton, supra, at 395 (O’Connor, J., concurring in part and dissenting in part). To prove deliberate indifference, Thompson needed to show that Connick was on notice that, absent additional specified training, it was “highly predictable” that the prosecutors in his office would be confounded by those gray areas and make incorrect Brady decisions as a result. In fact, Thompson had to show that it was so predictable that failing to train the prosecutors amounted to conscious disregard for defendants’ Brady rights. See Bryan Cty., supra, at 409; Canton, supra, at 389. He did not do so.
Ill
The role of a prosecutor is to see that justice is done. Berger v. United States, 295 U. S. 78, 88 (1935). “It is as much [a prosecutor’s] duty to refrain from improper methods calculated to produce a wrongful conviction as it is to use every legitimate means to bring about a just one.” Ibid. By their own admission, the prosecutors who tried Thompson’s armed robbery case failed to carry out that responsibility. But the only issue before us is whether Connick, as the policymaker for the district attorney’s office, was deliberately indifferent to the need to train the attorneys under his authority.
We conclude that this case does not fall within the narrow range of “single-incident” liability hypothesized in Canton as *72a possible exception to the pattern of violations necessary to prove deliberate indifference in § 1988 actions alleging failure to train. The District Court should have granted Con-nick judgment as a matter of law on the failure-to-train claim because Thompson did not prove a pattern of similar violations that would “establish that the ‘policy of inaction’ [was] the functional equivalent of a decision by the city itself to violate the Constitution.” Canton, supra, at 395 (opinion of O’Connor, J.).
The judgment of the United States Court of Appeals for the Fifth Circuit is reversed.

It is so ordered.


 After Thompson discovered the crime lab report, former Assistant District Attorney Michael Riehlmann revealed that Deegan had confessed to him in 1994 that he had “intentionally suppressed blood evidence in the armed robbery trial of John Thompson that in some way exculpated the defendant.” Record EX588; see also id., at 2677. Deegan apparently had been recently diagnosed with terminal cancer when he made his confession. Following a disciplinary complaint by the district attorney’s office, the Supreme Court of Louisiana reprimanded Riehlmann for failing to disclose Deegan’s admission earlier. In re Riehlmann, 2004-0680 (La. 1/19/05), 891 So. 2d 1239.


 Thompson testified in his own defense at the second trial and presented evidence suggesting that another man committed the murder. That man, the government’s key witness at the first murder trial, had died in the interval between the first and second trials.


 Because Conniek conceded that the failure to disclose the crime lab report violated Brady, that question is not presented here, and we do not address it.


 The District Court rejected Conniek’s proposed deliberate indifference jury instruction — which would have required Thompson to prove a pattern of similar violations — for the same reasons as the summary judgment motion. Tr. 1013; Record 993; see also Tr. of Oral Arg. 26.


 Because we conclude that Thompson failed to prove deliberate indifference, we need not reach causation. Thus, we do not address whether the alleged training deficiency, or some other cause, was the “ ‘moving force,’ ” Canton v. Harris, 489 U. S. 378, 389 (1989) (quoting Monell v. New York City Dept. of Social Servs., 436 U. S. 658, 694 (1978), and Polk County v. Dodson, 454 U. S. 312, 326 (1981)), that “actually caused” the failure to disclose the crime lab report, Canton, supra, at 391.
The same eannot be said for the dissent, however. Affirming the verdict in favor of Thompson would require finding both that he proved deliberate indifference and that he proved causation. Perhaps unsurprisingly, the dissent has not conducted the second step of the analysis, which would require showing that the failure to provide particular training (which the *60dissent never clearly identifies) “actually caused” the flagrant — and quite possibly intentional — misconduct that occurred in this case. See post, at 98 (opinion of Ginsburg, J.) (assuming that, “[h]ad Brady’s importance been brought home to prosecutors,” the violation at issue “surely” would not have occurred). The dissent believes that evidence that the prosecutors allegedly “misapprehen[ded]” Brady proves causation. Post, at 104, n. 20. Of course, if evidence of a need for training, by itself, were sufficient to prove that the lack of training “actually caused” the violation at issue, no causation requirement would be neeessary because every plaintiff who satisfied the deliberate indifference requirement would necessarily satisfy the causation requirement.


 Thompson had every incentive at trial to attempt to establish a pattern of similar violations, given that the jury instruction allowed the jury to find deliberate indifference based on, among other things, prosecutors’ “history of mishandling” similar situations. Record 1619.


 Thompson'also asserts that this case is not about a “single incident” because up to four prosecutors may have been responsible for the nondisclosure of the crime lab report and, according to his allegations, withheld additional evidence in his armed robbery and murder trials. But contemporaneous or subsequent conduct cannot establish a pattern of violations that would provide “notice to the citfy] and the opportunity to conform to constitutional dictates . . . .” Canton, 489 U. S., at 395 (O’Connor, J., concurring in part and dissenting in part). Moreover, no court has ever found any of the other Brady violations that Thompson alleges occurred in his armed robbery and murder trials.


 The Louisiana State Bar Code of Professional Responsibility included a broad understanding of the prosecutor’s duty to disclose in 1985:
“With respect to evidence and witnesses, the prosecutor has responsibilities different from those of a lawyer in private practice: the prosecutor should make timely disclosure to the defense of available evidence, known to him, that tends to negate the guilt of the accused, mitigate the degree of the offense, or reduce the punishment. Further, a prosecutor should not intentionally avoid pursuit of evidence merely because he believes it will damage the prosecution’s case or aid the accused.” LSBA, Articles of Incorporation, Art. 16, EC 7-13 (1971); see also ABA Model Rule of Prof. Conduct 3.8(d) (1984) (“The prosecutor in a criminal case shall . . . make timely disclosure to the defense of all evidence or information known to the prosecutor that tends to negate the guilt of the accused or mitigates the offense ... ”).
In addition to these ethical rules, the Louisiana Code of Criminal Procedure, with which Louisiana prosecutors are no doubt familiar, in 1985 required prosecutors, upon order of the court, to permit inspection of evidence “favorable to the defendant. . . which [is] material and relevant to the issue of guilt or punishment,” La. Code Crim. Proc. Ann., Art. 718 (West 1981) (added 1977), as well as “any results or reports” of “scientific tests or experiments, made in connection with or material to the particular case,” if those reports are exculpatory or intended for use at trial, id., Art. 719.


 Contrary to the dissent’s assertion, see post, at 108, n. 26 (citing post, at 96-98), a prosecutor’s youth is not a “specific reason” not to rely on professional training and ethical obligations. See supra, at 64-65 (citing United States v. Cronic, 466 U. S. 648, 658, 664 (1984)).


 Thompson also argues that he proved deliberate indifference by “direct evidence of policymaker fault” and so, presumably, did not need to rely on circumstantial evidence at all Brief for Respondent 37. In support, Thompson contends that Connick created a “culture of indifference” in the district attorney’s office, id., at 38, as evidenced by Connick’s own allegedly inadequate understanding of Brady, the office’s unwritten Brady policy that was later incorporated into a 1987 handbook, and an offieewide “restrictive discovery policy,” Brief for Respondent 39-40. This argument is essentially an assertion that Connick’s office had an unconstitutional policy or custom. The jury rejected this claim, and Thompson does not challenge that finding.


 The dissent spends considerable time finding new Brady violations in Thompson’s trials. See post, at 81-90. How these violations are relevant even to the dissent’s own legal analysis is “a mystery.” Post, at 81, n. 2. The dissent does not list these violations among the “[ajbundant evidence” that it believes supports the jury’s finding that Brady training was obviously necessary. Post, at 93. Nor does the dissent quarrel with our conclusion that contemporaneous or subsequent conduct cannot establish a pattern of violations. The only point appears to be to highlight what the dissent sees as sympathetic, even if legally irrelevant, facts.
In any event, the dissent’s findings are highly suspect. In finding two of the “new” violations, the dissent belatedly tries to reverse the- Court of Appeals’ 1998 decision that those Brady claims were “without merit.” Compare Thompson v. Cain, 161 F. 3d 802, 806-808 (CA5) (rejecting Brady claims regarding the Perkins-Liuzza audiotapes and the Perkins police report), with post, at 85-86 (concluding that these were Brady violations). There is no basis to the dissent’s suggestion that materially new facts have called the Court of Appeals’ 1998 decision into question. Cf. State v. Thompson, 2002-0361, p. 6 (La. App. 7/17/02), 825 So. 2d 552, 555 (noting Thompson’s admission that some of his current Brady claims “ha[ve] been rejected by both the Louisiana Supreme Court and the federal courts”). Regarding the bloodstained swatch, which the dissent asserts prosecutors “blocked” the defense from inspecting by sending it to the crime lab for testing, post, at 84, Thompson’s counsel conceded at oral argument that trial counsel had access to the evidence locker where the swatch was recorded as evidence. See Tr. of Oral Arg. 37, 42; Record EX42, EX43 (evidence card identifying “One (1) Piece of Victims [sic] Right Pants Leg, W/Blood” among the evidence in the evidence loeker and indicating that some evidence had been checked out); Tr. 401 (testimony from Thompson’s counsel that he “[w]ent down to the evidence room and checked all of the evidence”); id., at 103, 369-370, 586, 602 (testimony that evidence card was “available to the public,” would have been available to Thompson’s counsel, and would have been seen by Thompson’s counsel because it was stapled to the evidence bag in “the normal process”). Moreover, the dissent cannot seriously believe that the jury could have found Brady violations — indisputably, questions of law. See post, at 89, n. 10, 92, n. 11.


 Although the dissent acknowledges that “deliberate indifference liability and respondeat superior liability are not one and the same,” the opinion suggests that it believes otherwise. Post, at 109, n. 28; see, e. g., post, at 109 (asserting that “the buck stops with [the district attorney]”); post, at 100 (suggesting municipal liability attaches when “the prosecutors” themselves are “deliberately indifferent to what the law requires”). We stand by the longstanding rule — reaffirmed by a unanimous Court earlier this Term — that to prove a violation of § 1983, a plaintiff must prove that “the municipality’s own wrongful conduct” caused his injury, not that the municipality is ultimately responsible for the torts of its employees. Los Angeles County v. Humphries, 562 U. S. 29, 38 (2010); see id., at 35, 36 (citing Monell, 436 U. S., at 691).

